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15                          UNITED STATES DISTRICT COURT
16                        CENTRAL DISTRICT OF CALIFORNIA
17
18 FABIOLA ACEVEDO, JANE DOE 1, )                 CASE NO. 2:23-cv-01304-AB-AGR
   JANE DOE 2, JANE DOE 3, and       )
19
   JOHN DOE 1,                       ) JOINT DISCOVERY REPORT
20              Plaintiffs,          )
21                                   ) DATE: OCTOBER 8, 2024
   v.                                ) TIME: 11:00 a.m.
22                                   )
23 EXP REALTY, LLC, EXP WORLD        )
   HOLDINGS, INC., MICHAEL L.        )
24 BJORKMAN; DAVID S. GOLDEN; )
25 GLENN SANFORD; BRENT GOVE, )
   and DOES 1-10,                    )
26
                                     )
27                Defendants.        )
28 _________________________________ )


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1
2
3 TO THE HON. ALICIA G. ROSENBERG, THE COURT, AND TO ALL PARTIES:
4           The Parties submit the following JOINT DISCOVERY REPORT to the Hon. Alicia
5 G. Rosenberg, United States Magistrate Judge in compliance with the Court’s Scheduling
6 Notice [Dkt. 193]:
7
8      1. ESI Protocol
9           eXp and Plaintiffs disagree on whether the following provision should be included
10          or stricken from the proposed protocol (copy attached):
11
                     • The Parties shall confer regarding the identification and
12
                         collection of sources of relevant ESI, including custodial
13
                         sources, shared sources not specific to a custodian,
14
                         collaborative platform sources within an enterprise, and
15
                         third-party Documents. Additionally, the Parties shall
16
                         confer regarding search and validation methodologies
17
                         used to identify responsive content from among larger
18
                         collections of information
19
20
21                   • Redactions for responsiveness shall not be made within a
22                       discreet file or document that is otherwise responsive
23                       because of information it contains, and no extracted text
24                       from a responsive file or document will be withheld from
25                       production on the basis that it is not responsive.
26
27
28


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1      2. Production of Documents
2         a. Defendant eXp’s production of documents in response to Plaintiffs’ request for
3         production of documents:
4             • Plaintiffs’ Request No. 27: Documents related to investigations that You have
5                  conducted related to Complaints.
6             • Plaintiffs’ Request No. 30: All COMPLAINTS relating to sexual assault made
7                  to YOU.
8
              • Plaintiffs’ Request No. 31: All COMPLAINTS relating to sexual harassment
9
                   made to YOU
10
              • Plaintiffs’ Request No. 32: All COMPLAINTS related to drug use made to
11
                   YOU
12
              • eXp’s use and refusal to remove Boilerplate Objections
13
       b. Defendant Sanford’s production of documents in response to Plaintiffs’ request for
14
          production of documents
15
16            • Defendant Sanford’s failure to comply with Rule 34(b)(2) by not stating

17                 whether any responsive materials are being withheld on the basis of that
18                 objection.
19            • Defendant Sanford’s use and refusal to remove Boilerplate Objections
20            • Defendant Sanford’s failure to comply with Rule 34(b)(2)(E)(i) by not
21                 producing the records to correspond to the categories requested.
22
23     c. Defendant eXp’s failure to produce any documents in response to Plaintiffs’ Second
24        Set of Requests for Production:
25            • Plaintiffs’ Request No. 1: All DOCUMENTS received from or produced to
26
                   NY Comptroller, Thomas DiNapoli in connection with Mr. DiNaopoli’s letter
27
                   to Glenn Sanford dated January 25, 2024.
28


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1      d. Plaintiff Tami Sims’ production in response to Defendant Golden’s request for
2         production of documents.
3             • Plaintiff wants to designate a video “attorneys’ eyes only.”
4
5      e. Plaintiffs’ refusal to comply with Rule 34 and produce documents that Plaintiffs
6         responded and stated they would provide.
7
8      f. Specifically, in reviewing Plaintiffs’ production, documents are missing as follows:
9             Plaintiff Fabiola Acevedo:
10
              Responses with objections, but states that they will produce:
11
12
              Nos. 1, 2, 15, 23, 24, 25, 40, 41, 42, 53, 54

13            Responses without objections and states that they will produce:
14
              Nos. 30, 31, 32, 33, 34, 35, 47
15
16            Plaintiff Tami Sims:
17            Responses with objections, but states that they will produce:
18
              Nos. 2, 3, 15, 23, 24, 25, 40, 41, 42, 48, 49, 50, 51, 53, 55, 58, 59
19
20            Responses without objections and states that they will produce:
21
              Nos. 30, 31, 32, 33, 34, 35
22
23            Plaintiff Jane Doe 3:
24            Responses with objections, but states that they will produce:
25
              Nos. 15, 23, 25, 40, 41, 42, 49, 51, 52
26
27            Responses without objections and states that they will produce:
28
              Nos. 30, 31, 32, 33, 34, 35

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 1            Christy Lundy:
 2            Responses with objections, but states that they will produce:
 3
              Nos. 2, 15, 25, 40, 41, 42, 52, 53
 4
 5            Responses without objections and states that they will produce:
 6
              None.
 7
 8
       3. Plaintiffs’ Psychiatric Evaluations
 9
            The eXp Defendants have met and conferred regarding Plaintiffs’ psychiatric
10
11 evaluations and whether Plaintiffs would stipulate to have the exams in Los Angeles, to
12
     avoid motion practice. As such, the eXp Defendants seek an order for Plaintiffs to attend
13
14 they psychiatric evaluations at a location within the jurisdiction of the United States
15 District Court of California, Central District.
16
     Date: October 7, 2024                   By: /s/ Jennifer A. Lenze
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